        Case 2:22-cv-00688-JMY          Document 219             Filed 01/14/25      Page 1 of 2




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                                          January 14, 2025

The Honorable John M. Younge, Judge
U.S. District Court for the Eastern District of Pennsylvania
Room 15613 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

VIA ECF FILING and
VIA EMAIL: Chambers_Younge@paed.uscourts.gov

        RE:      American Environmental Enterprises, Inc. d/b/a TheSafetyHouse.Com v.
                 Manfred Sternberg et als
                 USDC, ED PA, Civil No. 2022-cv-00688 (JMY)____________________

Dear Judge Younge:

        We represent plaintiff American Environmental Enterprises, Inc. d/b/a THE SAFETY
HOUSE.COM in the above-referenced case. We write to request a two month postponement of
the Final Pre-Trial Conference scheduled in this case for January 30, 2025. Daniel Scully, the
principal of plaintiff, and our main contact (and witness) in this case, went into the hospital last
week and underwent two major surgeries. He still is in the hospital, and it is our understanding
that he expects to be released at the end of this week or next week, and he needs an additional
month thereafter to recover. We have spoken to counsel for the Sternberg Defendants, and they do
not object to our continuance request.

        Thank you for Your Honor’s consideration.

                                                           Respectfully,


                                                           /s/ Gary Lightman_______
                                                           Gary P. Lightman
GPL:no
      Case 2:22-cv-00688-JMY      Document 219   Filed 01/14/25   Page 2 of 2



Lightman & Manochi
The Honorable John M. Younge, Judge
January 14, 2025
Page 2 of 2

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